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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re:

Chapter 11

W.R. GRACE & CO., et al.,' Case No. 01-1139 (IKE)

Jointly Administered

Neer” Smee” Nema Neer” nner”

Debtors.
Objection Deadline: September 12, 2002 at 4:00 p.m.
Hearing Date: TBD only if necessary

FEE DETAIL FOR STEPTOE & JOHNSON LLP’S MONTHLY FEE APPLICATION
FOR THE PERIOD FROM MAY 1, 2002 THROUGH MAY 31, 2002

! The Debtors consist of the following 62 entities: W. R. Grace & Co, (f/k/a Grace Specialty Chemicals, Inc.}, W. R. Grace &
Co.-Comn., A-| Bit & Tool Co., Inc., Alewife Boston Ltd., Alewite Land Corporation, Amicon, Inc., CB Biomedical, Inc. (/k/a
Circe Biomedical, Inc.}, CCHP, Inc., Coaigrace, Inc., Coalgrace II, Inc., Creative Food "N Fun Company, Darex Puerto Rico,
Inc., Def Taco Restaurants, Inc., Dewey and Almy, LLC (f’k/a Dewey and Alnry Company), Ecarg, Inc., Five Alewife Boston
Ltd., GC Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. {fk/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G IT
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. ({/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal IE, Inc.,
Guanice-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc, (f/k/a GHSC Holding, Inc., Grace FVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (i/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.}, Remedium Group, Inc. (#/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cress
Country Staffing), Hayden-Guich West Coal Company, H-G Coal Company.

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EXHIBIT A
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EXHIBIT A

Professional services rendered through: May 31, 2002: Matter 46

05/06/02 A.L. Bailey Develop strategy with regard to COLI Fast-
Track.

05/06/02 A.E. Moran Review COL! legislation and subsequent
activities.

05/06/02 S.H. Serling Telephone conference with Grace and Anne
Moran regarding COLI settlement options.

05/06/02 S.H. Serling Review COL! litigation.

05/06/02 A.E. Moran Telephone conference with Grace re
procedural issues.

05/06/02 JW. Johnson Teleconference with Grace re COLI tax
procedures.

05/06/02 J.W. Johnson Draft request to IRS for expedited COLI
consideration.

05/06/02 J.W. Johnson Research COLI operational issues.

05/06/02 J.W. Johnson Prepare for teleconference on procedural
issues.

05/07/02 S.H. Serling Attention to COLI litigation.

05/07/02 J.W. Johnson Research regarding COLI operational issues.

05/07/02 J.W. Johnson Draft and revise letter to IRS re COLI
settlement.

05/08/02 ALL. Bailey Advice regarding COLI! operational issues.

05/08/02 J.W. Johnson Revisions to IRS letter related to expedited
settlement of COLI issue.

05/08/02 J.W. Johnson Analyze COLI operational issues related to
COLI settlement.

05/09/02 J.M. Baxley Review of COLI operations.

05/09/02 J.W. Johnson Research COL! operations issues per COL!
settlement.

05/10/02 J.M. Baxley Research re: review of COLI operations.

05/10/02 JW. Johnson (COL! Operations) research related to COLI
settlement.

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J.M. Baxley

B. Kaufman
J.M. Baxley

J.M. Baxley
A.L. Bailey
A.E. Moran
A.L. Bailey

J.M. Baxley
J.M. Baxley

JW. Johnson
J.M. Baxley

S.G. Watters
A.L. Bailey
A.E. Moran

A.E. Moran
J.W. Johnson
A.L. Bailey

S.H. Serling

R.B. Hotchkiss

S.G. Watters

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Research re: COLI operations; begin drafting
memorandum.

Review of COLI case filings and decision.

Research re: COLI operations; continue
drafting memorandum.

Research re: COLI operations.
Prepare for call regarding COLI cases.
Review recent COLI cases.

Review information from other companies re
COLI operations.

Review cases re: COLI operations.

Research and drafting re: review of COLI
operations.

Review research re COLI operational issues.

Read cases and draft memorandum
regarding review of COLI operations.

Review state legislative history regarding
COLI.

Telephone call with client regarding decisions
and task list for follow-up with CFO.

Conference call on COLI litigation (AEM
attended only part).

Prepare for conference call on COL litigation.

Research relating to COLI settlement.

Call Avon Consulting regarding policyholder
reactions to COLI cases.

Conference call regarding COLI litigation with
Art Bailey, Anne Moran, Carol Finke, Rick
Sentileben, and Elyse Napoli.

Review Rev. Proc. 99-23 to determine what
rights, if any, client has to appeal case
manager's decision to reject an early referral
request.

Continue review of state legislative history
regarding COLI.

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J.W.

AE.
J.M.
JW.

°.G.

JM.

ALL.

JW.

J.M.

J.M.

JM.

JW.
S.H.

ALL.

J.M.

JW.

ALE.

J.W.

JM.

JM.

Johnsen

Moran
Baxley

Johnson

Watters

Baxley

Bailey

Johnson
Baxley
Baxley
Baxley

Johnson

Serling

Bailey
Baxley

Johnson

Moran

Johnson

Baxley

Baxley

Research regarding issues related to COL!
policies and IRS settlement issues.

Follow up on COL! litigation.
Review of COLI operations.

Research regarding issues related to COLI
settlement.

Continue review of state legislative history
regarding COLI.

Review of COLI operations; further research
re; review of COLI operations; revise memo.

Attention to email from client; follow-up.

Research regarding issues relating to COLI
settlement.

Read cases: revise memorandum re: review
of COLI operations.

Research: revise memorandum re: review of
COLI operations.

Finalize first draft or memorandum re review
of COLI operations.

Preparation of Memorandum re COLI issues.

Review; Rev. Proc. 99-28 regarding early
referral procedures; review IRS structure.

Analysis of possible Grace liabilities.

Review of COLI operations in preparation for
conference call with client.

Research regarding impacting COLI
settlement.

Follow-up re conference on COLI cases and
settlement issues.

Teleconference with client regarding COLI
settlement issues.

Phone conference with client re COLI
operations.

Begin further work re: review of COLI
operations.

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05/29/02 S.H. Serling
05/29/02 A.E. Moran
05/29/02 A.L. Bailey
05/30/02 A.E. Moran
05/30/02 J.W. Johnson
05/30/02 J. Scher
05/30/02 S.G. Watters
05/31/02 A.E. Moran
05/31/02 J.W. Johnson
05/31/02 J.W. Johnson
05/31/02 J. Scher
Name

A.L. Bailey

S.H. Serling

J.W. Johnson

A.E. Moran

J.M. Baxley

B. Kaufman

R.B. Hotchkiss

S.G. Watters

J. Scher

Total

Prepare for and telephone conference with
client regarding pending COLI litigation and
IRS procedures (attended part).

Telephone conference re recent COLI cases
and settlement issues (attended part).

Telephone call to client regarding settlement
issues.

Review and send information on COLI issues
to client.

Review issues re COL! settlement.

Research at Georgetown University Law
Library re State Law (for Jean Baxley).

Continue review of state legislative history.

Telephone conference with R. Sentfleben re
COLI case.

Teleconference with client re COLI settlement
research.

Research re COLI settlement issues.

Explaining research findings to Susan
Watters

Hours Rate Value
7.80 465.00 3,627.00
6.60 450.00 2,970.00

42.80 445.00 19,046.00
8.50 375.00 3,187.50

72.50 300.00 21,750.00
0.50 270.00 135,00
0.80 200.00 160.00
4.00 150.00 600.00
7.50 100.00 750.00

151.00 52,225.50

Total Fees -- Matter 46

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0.10

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$52,225.50

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May 2002 Fees -- Matter 32

05/01/02 A.E. Moran Work on bills for January-March 2002. 2.50
05/02/02 A.E. Moran Work on January - March bills. 2.20
05/03/02 A.E. Moran Finish work on bills. 3.30
05/08/02 A.E. Moran September bill filing. 0.40
05/17/02 A.E. Moran Work on quarterly bills. 1.50
05/20/02 A.E. Moran Work on bills for 2002; send out. 3.00
05/23/02 A.E. Moran Telephone call to court; letter to court re 0.60

registration (for billing purposes).

Name Hours — Rate Value
A.E. Moran 13.50 375.00 5,062.50
Total Fees - Matter 32 $5,062.50

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